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Case 2:18-CV-00216-RFB-CWH Document ill Filed 05/04/18 Page 1 of 8

PAUL PONOMARENKO in Pro Per
c/o

1650 S. Amphlett Blvd. Suite 220
San Mateo, CA 94402

Phone: (650) 597-0928 t

 

 

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UNITED` STATES nlsTRICT CoURT
NoRTHE'RN DISTRICT 0F NEVADA

 

PAUL PONOMARENKO, an individual,
Plaintiff,
v.

PROJECT VEGAS MANSION, corporate
entity of unknown form, NATI-IAN SHAPIRO,
an individual; and DOES 1 through 50,

Defendants.

 

NATHAN SHAPIRO, an individual,
Counterclaimant,
v.
PAUL PONOMARENKO, an individual,
DOES 1 through 50 and ROE business entities
51-100,
Counterdefendants.

 

NATHAN SHAPIRO, an individual,
Third Party Plaintiff,
vs.

SUMMIT ESTATE, INC. DBA SUMM_IT
ESTA'I`E RECOVERY CENTER, a

California eorporation; LUKE GERHARD
KROGH, an individual; DOES 1 through 50
and ROE business entities 51 through 100,

Third Party Dei`endants.

 

 

Case No.: 2:18-ev-00216-RFB-CWH

PLAINTIFF PAUL
PONOMARENKO’S RESPONSE
TO COURT’S NOTICE OF NON
RESPONSE (ECF Dkt. No. 107 and
ECF Dkt. No. 90); MOTION FOR
EXTENSION OF TIME PURSUANT
TO LR IA 6-1; MOTION FOR
PERMISSION FOR ELECTRONIC
CASE FlLING BY PAUL
PONOMARENKO

 

 

 

PLA|NTIFF PAUL PONOMARENKO’S RESPONSE TO COURT’S NOT[CE OF NON-RESPONSE (ECF Dkt. No. 107 and ECF Dkt. No. 90);
MOTlON FOR EXTENSION OF T[ME PURSUA.NT TO LR IA 6-1; MOTION FOR PERMISSION FOR ELECTRON[C CASB FlL[NG B‘r’ PAUL
PONOMARENKO
CASE NO. 2:18-cv-00216-RFB-CWH

 

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Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 2 of 8

PLAINTIFF PAUL PONOMARENKO’S RESPONSE TO NOTICE TO COURT.'. MOTION
FOR EXTENSION OF TIME PURSUANT TO LR IA 6-1; MOTION FOR PERMISSION
FOR ELECTRONIC CASE FILING BY PAUL PONOMARENKO

Plaintiff Paul Ponomarenko hereby gives notice to the Court of the following circumstances
which are relevant to the Court’s recent Notice of Non-Compliance (ECF Dkt. No. 107 and Dkt. No.
90) and in support of his motion for extension of time.

l. This matter was transferred to this Court from the Northern District of California Court on
Febmaly 5, 2018 pursuant to Dkt. ss.

2. As such, neither of my California counsel of record, Sanjiv N. Singh, and Michael Indrajana,
are able to appear on my behalf or on behalf of Summit Estate, Inc. which I wholly own. As
the Court is aware, LR IA 11-2 requires an association of an active member in good standing
of the State bar of Nevada as attorney of record in the action or proceeding. Neither Mr.
Singh nor Mr. Indrajana litigate in Nevada or do business in Nevada; as such,"in order to
appear pro hac vice, they would have to find local Nevada counsel to sponsor them to appear
This is not an insignificant hurdle; despite diligent eii`orts, several Nevada based firms have
turned down requests to facilitate pro hac vice appearances for reasons such as geographic
distance from the court and having policies not to facilitate pro hac vice appearances without
extensive and protracted diligence on the case and docket. As such, Summit Estate and l
likely will need to find new counsel in Nevada or I will appear pro se while Summit Estate
continues to look for suitable counsel.

3. Thus, contrary to Mr. Shaddix’ misleading notice to the Court, I have sought to locate
counsel as has Summit. There has been no error or lack of diligence on my part in this regard
I estimate it will take possible 30 to 60 more days to do so. As such, as an individual, I have
elected to represent myself pro se in the meanwhile My understanding is that Summit fistate,
Inc. cannot do so because it is a corporation

4. To date, neither Mr. Shaddix nor Mr. Shapiro have properly served either myself or Summit
Estate by physically mailing or delivering the filed documents pursuant to Nevada Local

PLAINTIFF PAUL PONOMARENKO’S RESPONSE TO COURT’S NOTICE OF NON-RESPONSE (ECF Dkt. No. 107 and ECF Dkt. No. 90);
MOTION FOR EX`['BNSION OF 'I'IME PURSUANT 'I`O LR lA 6-1', MOTION FOR PERMISSION FOR ELECT'RONIC CASE F[LING BY PAUL
PONOMARENKO
2: l 8-cv-00216-RFB-CWH

 

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Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 3 of 8

Rules LR IC 4-l(c)(6), which states that Paper Service is required when a document is served
on non-filers. Given that counsels for Plaintiff and Summit have not been registered as e-
rilers on the Court’s ECF system until they can locate local counsel and satisfy the
requirements under rule LR IC lA ll-l , it is only fair and reasonable for Mr. Shaddix and

Mr. Shapiro to serve the parties the physical copies per LC IC 4-1 (c)(é).

. Pursuant to this notice, I hereby move and am requesting the Court to give a 60-day time

extension for either Mr. Singh and Mr. lndrajana to appear pro hac vice before this Court or
for Summit Estate and I to find Nevada based counsel. I further request the Court to require
Mr. Shaddix and Mr. Shapiro to properly serve all other documents by serving physical
copies of the documents to the parties until such time when counsel can appear before this

Court.

. Furthermore, as the Plaintiff in the above-captioned matter, I respectfully ask the Court for

permission to participate in electronic case filing (“e-filing”) in this case. I hereby affirm
that:
a. I have reviewed the requirements for e-iiling and agree to abide by them.
b. I understand that once l register for e-filing, I will receive notices and documents only
by entail in this case and not by regular mail.
c. I have regular access to the technical requirements necessary to e-iile successfully:
i. A computer with internet access;
ii. An email account on a daily basis to receive notifications from the Court and
notices from the e-filing system;
iii. A scanner to convert documents that are only in paper format into electronic
liles;
iv. A printer or copier to create the required paper copies such as chambers
copies;
v. A word-processing program to create documents; and

vi. A pdf reader and a pdf writer to convert word processing documents into pdf

PLAINT|FF PAUL PONOMARENKO’S RESPONSE TO COURT'S NOTICE OF NON-RESPONSE (ECF Dkt. No. 107 and ECF Dkt. Nol 90);
MOTION FOR EXTENSION OF T`Ilva PURSUA.NT TO LR IA 6-1; MOTION FOR PERMISSION FOR ELECTRON[C CASE FlL[NG BY PAUL

PONOMARENKO
2: 18-cv-0 021 6-RFB-CWH

 

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Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 4 of 8

format, the only electronic format in which documents can be e-filed.

DATED: M‘* ;) 2 , 2018 Respectfully submitted,

By:\ ;r\i "‘~`

\`_/
PAUL PONOMARENKO

PLAINT|FF PAUL PONOMARENKO`S RESPONSE TO COURT’S NOTICE OF NON-R.ESPONSE (ECF Dkt. No. 107 and ECF Dkt. No. 90);
MOT]ON FOR EXTENSION OF TIME PURSUANT TO LR lA 6-1; MOTION FOR PERMISSION FOR ELECTRON[C CASE FlL[NG BY PAUL
FONOMARENKO
2:lS-cv-00216-RP'B-CWH

 

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Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 5 of 8

PAUL PONOMARENKO in Pro Per
clo

1650 S. Amphlett Blvd. Suite 220
San Mateo, CA 94402

Phone: (650) 597-0928

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEVADA

 

PAUL PONOMARENKO, an individual, Case No.: 2:18-cv-00216-RFB-CWH
Plaintiff,
PLAINTIFF PAUL
v. PONOMARENKO’S RESPONSE

TO COURT’S NOTICE OF NON
RESPONSE (ECF Dkt. No. 107 and
ECF Dkt. No. 90); MOTION FOR
E_XTENSION OF TIME PURSUANT

PRO.]ECT VEGAS MANSION, corporate
entity of unknown form, NATI-lAN SHAPIRO,
an individual; and DOES 1 through 50,

 

Defendants. TO LR IA 6-1; MOTION FOR
PERMISSION FOR ELECTRONIC
CASE FILING BY PAUL
NATHAN sHAPIRo, an individuai, PONOMARENKO
Counterclaimant,

v.
PAUL PONOMARENKO, an individual,
DOES 1 through 50 and ROE business entities
51-100,

Counterdefendants.

 

NATHAN sHAPIRo, an individwn,
Third Parcy Plainrar,
VS.

SUMMIT ESTATE, INC. DBA SUMMIT
ESTATE RECOVERY CENTER, a

California corporation; LUKE GERHARD
KROGH, an individual; DOES 1 through 50
and ROE business entities 51 through 100,

Third Party Defendants.

 

 

 

 

 

PLAINTIFF PAUL PONOMARENKO’S RESPONSE TO COURT’S NOTICE OF NON-RESPONSE (ECF Dkt. No. 107 and ECF Dkt. No. 90);
MOTION FOR EXTENSION OF TIME PURSUANT TO LR IA 6-1; MOTION FOR PERMISS[ON FOR ELECTRONIC CASE FlL[NG BY PAUL
PONOMARENKO
CASE NO. 2:lB-cv-00216~RFB-CWH

 

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Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 6 of 8

PLAINTIFF PAUL PONOMARENKO’S RESPONSE TO NOTICE TO COURT; MOT 10N
FOR EXTENSION OF TIME PUR_SUANT TO LR IA 6-1; MOTION FOR PERMISSION
FOR ELECTRONIC CASE FILING BY PAUL PONOMARENKO

PlaintiH Paul Ponomarenko hereby gives notice to the Court of the following circumstances
which are relevant to the Court’s recent Notice of Non-Compliance (ECF Dkt. No. 107 and Dkt. No.
90) and in support of his motion for extension of time.

l. This matter was transferred to this Court from the Northem District of California Court on
February 5, 2018 pursuant to Dkt. 88.

2. As such, neither of my California counsel of record, Sanjiv N. Singh, and Michael Indrajana,
are able to appear on my behalf or on behalf of Summit Estate, Inc. which I wholly own. As
the Court is aware, LR lA 11-2 requires an association of an active member in good standing
of the State bar of Nevada as attorney of record in the action or proceeding Neither Mr.
Singh nor Mr. Indraj ana litigate in Nevada or do business in Nevada; as such, in order to
appear pro hac vice, they would have to find local Nevada counsel to sponsor them to appear.
This is not an insignificant hurdle; despite diligent efforts, several Nevada based firms have
turned down requests to facilitate pro hac vice appearances for reasons such as geographic
distance from the court and having policies not to facilitate pro hac vice appearances without
extensive and protracted diligence on the case and docket. As such, Summit Estate and l
likely will need to find new counsel in Nevada or l will appear pro se while Summit Estate
continues to look for suitable counsel.

3. Thus, contrary to Mr. Shaddix’ misleading notice to the Court, I have sought to locate
counsel as has Summit. There has been no error or lack of diligence on my part in this regard.
I estimate it will take possible 30 to 60 more days to do so. As such, as an individua], I have
elected to represent myself pro se in the meanwhile My understanding is that Summit Estate,

Inc. cannot do so because it is a corporation

4. To date, neither Mr. Shaddix nor Mr. Shapiro have properly served either myself or Summit

Estate by physically mailing or delivering the filed documents pursuant to Nevada Local

PLAINT 1F F PAUL PONOMARENKO’S RESPONSE TO COURT’S NOTICE OF NON-RESPONSE (ECF Dkt. No, 107 and ECF Dkt. No. 90)‘,
MOTION FOR EXTENS[ON OF TlME PURSUANT TO LR IA 6-1; MOTlON FOR PER.MISS|ON FOR ELECTRON!C CASE FILFNG BY PAUL
PONOMARENKO
2218-cv-00216-RFB-CWH

 

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Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 7 of 8

Rules LR IC 4-1 (c)(6), which states that Paper Service is required when a document is served
on non-filers. Given that counsels for Plaintiff and Summit have not been registered as e-
filers on the Court’s ECF system until they can locate local counsel and satisfy the
requirements under rule LR IC lA ll-l, it is only fair and reasonable for Mr. Shaddix and
Mr. Shapiro to serve the parties the physical copies per LC IC 4-l(c)(6).

. Pursuant to this notice, I hereby move and am requesting the Court to give a 60-day time

extension for either Mr. Singh and Mr. lndrajana to appear pro hac vice before this Court or
for Summit Estate and l to find Nevada based counsel. I further request the Court to require
Mr. Shaddix and Mr. Shapiro to properly serve all other documents by serving physical
copies of the documents to the parties until such time when counsel can appear before this

Court.

. Furthermore, as the Plaintiff in the above-captioned matter, 1 respectfully ask the Court for

permission to participate in electronic case filing (“e-filing”) in this case. I hereby affirm
that:
a. I have reviewed the requirements for e-filing and agree to abide by them.
b. I understand that once I register for e-filing, I will receive notices and documents only
by email in this case and not by regular mail.
c. I have regular access to the technical requirements necessary to e-file successfully:
i. A computer with internet access;
ii. An email account on a daily basis to receive notifications from the Court and
notices from the e-filing system;
iii. A scanner to convert documents that are only in paper format into electronic
files;
iv. A printer or copier to create the required paper copies such as chambers
copies;
v. A word-processing program to create documents; and

vi. A pdf reader and a pdf writer to convert word processing documents into pdf

PLAINTIFF PAUL PONOMARENKO'S RESPONSE TO COURT’S NOTICE OF NON-RESPONSE (ECF Dkt. No. 107 and ECF Dkt. No. 90);
MOTION FOR EXTENS|ON OF TIME PURSUANT '[`O LR IA 6~1; MO'I`lON FOR PERMlSSlON FOR ELECTRONIC CASE FILI'NG BY PAUL

FONOMARENKO
2118-cv-00216-RFB-CWH

 

Case 2:18-CV-00216-RFB-CWH Document 111 Filed 05/04/18 Page 8 of 8

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format, the only electronic format in which documents can be e-filed.

DATED: M aj 2, 2018 Respectfully submitted,
By: §§ j 7 ' § div

 

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PAUL PONOMARENKO

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28 PLAINTIFF PAUL PONOMARENKO‘S RESPONSE TO COURT’S NOTICE OF NON-RESPONSE (ECF Dkt. No. 107 and ECF Dkt No. 90);
MOTION FOR EXTENS|ON OF TIME PURSUANT TO LR lA 6-1', MOTION FOR PERMISSION FOR ELECTRON]C CASE F[LING BY PAUL
PONOMARENKO
2218-cv-00216-RFB-CWH

 

 

 

